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                     EXHIBIT G
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                                  Department of Energy
                                      Washington, DC 20585

                                           May 12, 2025


Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138

Dr. Garber:

The Department of Energy (DOE) is hereby providing notice that funding for the projects in the
attached spreadsheet is hereby terminated. This termination is pursuant to 2 C.F.R. § 200.340(a)(4),
which permits termination “by the Federal agency or pass-through entity pursuant to the terms and
conditions of the Federal award, including, to the extent authorized by law, if an award no longer
effectuates the program goals or agency priorities.”

DOE understands that Harvard University (Harvard) continues to engage in race discrimination,
including in its admission process, and in other areas of student life, such as access to the Law
Review at Harvard Law School. We are also aware of recent events at Harvard involving
antisemitic action that suggest the institution has a disturbing lack of concern for the safety and
wellbeing of Jewish students. Harvard’s ongoing inaction in the face of repeated and severe
harassment and targeting of Jewish students has ground day-to-day campus operations to a halt,
deprived Jewish students of learning and research opportunities to which they are entitled, and
brought shame upon the University and our nation as a whole. Indeed, as the Harvard Presidential
Task Force on Combating Antisemitism and Anti-Israeli Bias concluded, actions at Harvard during
the 2023-2024 academic year resulted in widespread abuse of Jewish and Israeli students by an
institution “that mainstreamed and normalized what many Jewish and Israeli students experience
as antisemitism and anti-Israeli bias.”

DOE maintains a firm policy of not supporting entities, individuals or actions that engage in
discrimination or which promote and condone, by action or acquiescence, antisemitism. Despite
being aware of deeply rooted racial discrimination and antisemitism at Harvard, Harvard has
refused to take immediate, definitive and appropriate remedial action. Therefore, based on the
available information, DOE has concluded that no modification of the Harvard projects could align
the projects with agency priorities and any continued funding of the projects is inconsistent with
DOE’s stewardship of American taxpayer funds and would be inconsistent with the DOE’s overall
mission and goals.

Supporting research in such an environment is plainly inconsistent with DOE’s priorities and raison
d’etre of funding and championing the very best American research and educational institutions.
The actions of Harvard in failing to definitely eliminate racial discrimination and antisemitism on
its campus demonstrate that Harvard’s conduct does not align with DOE’s policy against racial
discrimination, and antisemitism, in all of its permutations.
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In accordance with 2 C.F.R. § 200.343, you are hereby notified that costs to the recipient or
subrecipient resulting from financial obligations incurred by the recipient or subrecipient during the
termination of this award are not allowable. However, costs after termination are allowable if the
costs result from financial obligations which were properly incurred by the recipient or subrecipient
before the effective date of termination.

Administrative Appeal
You may object and provide information and documentation challenging these terminations.

You must submit a request for such review to DOE’s Office of General Counsel no later than 30
days after this letter is received, except that if you show good cause why an extension of time
should be granted, the DOE General Counsel may grant an extension of time in the exercise of his
sole discretion.

The request for review must include a copy of this decision, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent
facts and reasons in support of your position. In addition to the required written statement, you
shall provide copies of any documents supporting your claim.

Sincerely,



Shane Kosinski
Deputy Director for Operations
Advanced Research Projects Agency-Energy (ARPA-E)
U.S. Department of Energy




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Award Number                                  Project Title
               Developing advanced NMR techniques to predict and monitor CO2
DE-AR0001705   storage and mineralization for enhanced mining exploration and operation




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